     Case 3:19-cv-00360 Document 36 Filed 10/16/20 Page 1 of 1 PageID #: 96




                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


TARA and MICHAEL CADLE,

                              Plaintiffs,

v.                                                  CIVIL ACTION NO. 3:19-0360

UNITED STATES OF AMERICA,

                              Defendant.


                                            ORDER


       Pending is the Joint Motion to Extend Stay. ECF No. 35. The Court GRANTS the Motion

and extends the stay of this matter to November 22, 2020. The parties will notify the Court once

funding has occurred and the Court will enter the proposed order attached to the joint motion.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented parties.

                                             ENTER:         October 16, 2020




                                             ROBERT C. CHAMBERS
                                             UNITED STATES DISTRICT JUDGE
